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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

Stanley P. Baudin                         )
                                          )   Case No. 18-1063
              Plaintiff,                  )
                                          )   JUDGE SHELLY DICK
       v.                                 )
                                          )   MAGISTRATE JUDGE
AstraZeneca Pharmaceuticals LP;           )   ERIN WILDER-DOOMES
AstraZeneca LP; and Merck Sharp &         )
Dohme Corporation                         )
                                          )
              Defendants.                 )
                                          )

NOTICE OF ORAL REMOTE VIDEOTAPED DEPOSITION AND REQUEST FOR
   PRODUCTION OF DOCUMENTS OF PATRICIA MJONES, M.D., PH.D.

    TO:     Dr. Patricia MjØnes
            c/o John Restaino, Michael Gallant, John Dalimonte, and Christopher Coffin

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                                                                                    EXHIBIT 9
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                  ccoffin@pbclawfirm.com

           PLEASE TAKE NOTICE, that, pursuant to Federal Rule of Civil Procedure 30 and all

applicable Case Management Orders, Defendants will take the Oral Videotaped Deposition of

Dr. Patricia MjØnes before a Notary Public or other person authorized to administer oaths,

on March 21, 2022 beginning at 7:00 a.m. EST and continued until completed. Defendants

reserve the right to continue the deposition, subject to the availability of all necessary participants,

on such later dates as necessary to utilize the full measure of time afforded by agreement of the

parties.

           PLEASE TAKE FURTHER NOTICE that the deposition will be taken remotely via

Zoom video conference technology hosted by remote deposition vendor Golkow Litigation

Services (877-370-3377/www.golkow.com).            All parties, as well as the court reporter and

videographer, will be participating in the deposition from separate locations. On information and

belief, Dr. Patricia MjØnes will attend from Norway. The parties shall set forth their appearances

and locations on the record at the start of the deposition.

            The court reporter will swear in the witness by remote video or internet video conference

technology with the same effect as an oath sworn to in person to the extent permitted by the law

of the state in which the witness is located. The deposition shall be deemed to have been taken

before an appropriate court officer despite the court reporter not being in the same physical location

as the witness. The oral examination is to be taken for purposes of discovery, for use at trial, or

for such other purposes as are permitted under the Federal Rules of Civil Procedure, the local rules

of the United States District Court for the Middle District of Louisiana, and Case Management

Ordered entered by the Court. The witness, questioning attorney, and documents will be recorded




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by video. Any depositions noticed to take place remotely and which are recorded remotely may be

admitted at trial with the same effect of one recorded in-person.

        Golkow will provide remote access for all parties wishing to participate via video

conference or telephone. If you wish to participate via Zoom video conference or telephone, please

contact Golkow at least 24 hours prior to the deposition so necessary credentials, call-in numbers,

testing, and other information, if any, can be provided to you prior to the proceedings. As noted

above, the court reporter will be appearing via video teleconferencing/teleconferencing and will

not be in the presence of the deponent. A stipulation will be made on the stenographic record by

all parties that the witness is to be sworn in remotely by the reporter. Exhibits for this deposition

will be distributed and marked digitally by video teleconferencing/teleconferencing. The fact that

a witness was provided with an electronic copy of an exhibit shall not be a basis to object to the

admissibility of that exhibit at trial.

        PLEASE TAKE FURTHER NOTICE that, in connection with the taking of the

deposition, the deponent shall produce the items described in Exhibit “A,” attached hereto and

incorporated herein by reference, no less than 2 business days prior to the start of the deposition.

                                              Respectfully submitted,

                                              Adams and Reese LLP

                                              /s/ Diana Cole Surprenant
                                              E. PAIGE SENSENBRENNER (#18429) – T.A.
                                              DIAN COLE SURPREANT (#33399)
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                                              Attorneys for Defendants,
                                              AstraZeneca Pharmaceuticals LP, AstraZeneca
                                              LP, and Merck Sharp & Dohme Corporation


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                                             EXHIBIT A

                               Request for Production of Documents
        The term “documents” is used in its broadest sense, and includes, without limitation,
written material of whatever kind or nature, whether typed, printed, handwritten, microfilmed or
otherwise produced including, without limitation, letters, memoranda, notes, reports, records,
studies, publications, contracts, bills, invoices, spreadsheets, presentations (including
PowerPoint), internet or web documents, photographs, calendars, photostats, photocopies, data,
sketches, diagrams, forms, manuals, lists, minutes, charts, audio and video recordings and
electronic data complications, including computerized files, computer disks, hard drives, database
records, “voice mail” or “phone mail” recordings, and “electronic mail” or “e-mail” messages,
however stored, as well as drafts, revisions, and redline versions or iterations, whether paper or
electronic. Spreadsheets and any other documents that contain formulas and/or calculations are to
be produced in readable electronic format and in such a way that the formulas and/or calculations
may be reviewed.
       The term “pathology report” refers to the pathology report titled “Pathology Report on
Biopsies Received from the Pathology Group of Louisiana” signed by Dr. Patricia MjØnes on April
9, 2021, attached to the expert report of Dr. Helge Waldum.
         Dr. Patricia MjØnes is to produce materials in her possession, custody, or control listed
below:

1.       A copy of the witness’s most current curriculum vitae and fee schedule.

2.       All time records, diaries, invoices, and/or bills prepared and rendered in connection with
         the witness's investigation and evaluation of the issues involved in this litigation. This
         request includes all documents that the witness used to record the number of hours the
         witness spent investigating and evaluating the issues involved in this litigation.

3.       The witness's complete file in connection with the witness's investigation and evaluation
         of the issues involved in this litigation.

4.       All documents obtained or created by the witness with reference to this litigation, including
         drafts of the pathology report.

5.       All documents reviewed, referred to, or relied upon by the witness before, during or after
         drafting the pathology report, including, but not limited to medical records and reports, and
         all scientific, medical, or technical articles, publications, codes, textbooks, standards, and
         other literature.

6.       All documents of communications between the witness and any person, including but not
         limited to Helge Waldum and counsel for Plaintiff in this matter regarding the pathology
         report, or any drafts thereof or regarding the subject matter of this litigation.



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7.      All facts, data, and assumptions Plaintiff’s counsel provided to the witness and that the
        witness considered in drafting the pathology report.

8.      All articles or papers the witness has written, presented, or has participated in writing or
        presenting, that relate to or concern the subject matter of this this litigation.

9.      All documents concerning any research the witness has undertaken that relates to or
        concerns the subject matter of this litigation.

10.     All documents the witness used, reviewed, and/or received in anticipation of/preparation
        for this deposition.

11.     All documents of communications between the witness and any person regarding this
        deposition or preparation therefore.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via e-mail

on the following Plaintiff’s counsel on this 10th day of March, 2022:


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                                                    /s/ Diana Cole Surprenant
                                                    DIANA COLE SURPREANT




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